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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:13-CR-43

vs.
                                                                 ORDER
JESSICA MARIE HERNANDEZ,

                    Defendant.


        This matter is before the Court on the defendant's motion to reduce
sentence (filing 838). The motion requests a sentence reduction based on
Amendment 794 to the United States Sentencing Guidelines, which generally
clarified the factors to be considered when determining whether a defendant
should receive a downward adjustment for a mitigating role in the offense.
The defendant's motion will be denied.
        Amendment 794, which was effective on November 1, 2015, made no
change to the text of U.S.S.G. § 3B1.2. Instead, it made changes and
additions to the commentary to § 3B1.2, to provide additional guidance to
courts in determining whether a mitigating role adjustment applies. And
Amendment 794 was not made retroactive to defendants who had already
been sentenced. See, 18 U.S.C. § 3582(c)(2); U.S.S.G. § 1B1.10(d); see also
United States v. Hernandez, 18 F.3d 601, 602 (8th Cir. 1994).1


1   The Court is aware of authority suggesting holding that Amendment 794 applies
retroactively to cases on direct appeal. See United States v. Quintero-Leyva, 823 F.3d 519,
522–23 (9th Cir. 2016); accord United States v. Carter, 662 F. App'x 342, 349 (6th Cir.
2016). But this case is not on direct appeal, and was not on November 1, 2015.
Furthermore, while the Ninth Circuit applies a "clarifying" amendment to the Sentencing
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       In this case, the defendant was sentenced on July 11, 2014, and no
appeal was taken, so the judgment was final as of July 25. See Fed. R. App. P.
4(b)(1)(A). She was sentenced pursuant to the Guidelines in effect at that
time and, in fact, received the benefit of a role adjustment pursuant to §
3B1.2. See filing 412 at 8. Because Amendment 794 does not operate
retroactively, she is entitled to no further reduction.


       IT IS ORDERED that the defendant's motion to reduce sentence
       (filing 838) is denied.


       Dated this 24th day of October, 2017.


                                                  BY THE COURT:



                                                  John M. Gerrard
                                                  United States District Judge




Guidelines retroactively to cases on direct appeal, the Eighth Circuit has rejected that view,
holding that only amendments enumerated in § 1B1.10 are to be applied retroactively, even
if appellate review has not concluded. United States v. Dowty, 996 F.2d 937, 938 (8th Cir.
1993) (citing United States v. Caceda, 990 F.2d 707, 710 (2d Cir.1993)); see United States v.
Williams, 905 F.2d 217, 218 (8th Cir. 1990).


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